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   6
   7                         UNITED STATES DISTRICT COURT

   8                       CENTRAL DISTRICT OF CALIFORNIA

   9
  10 KEVIN COX,                                     Case No.: 2:21-cv-02258 MWF (KESx)

  11                                                NOTICE OF SETTLEMENT OF
                    Plaintiff,                      ENTIRE CASE
  12         vs.
  13
  14 3405 OVERLAND AVENUE, LLC;
     and DOES 1 to 10,
  15
               Defendants.
  16
  17
  18         Notice is hereby given that Plaintiff KEVIN COX ("Plaintiff") and
  19 Defendants have settled the above-captioned matter as to the entire case. Parties
  20 requests that the Court grant thirty (30) days from the date of this filing for Plaintiff
  21 to file dispositional documents in order to afford Parties time to complete settlement.
  22
      DATED: August 04, 2021                      SO. CAL EQUAL ACCESS GROUP
  23
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  25                                                      /s/ Jason J. Kim
  26                                                JASON J. KIM
                                                    Attorney for Plaintiff
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  28

                                                           NOTICE OF SETTLEMENT OF ENTIRE CASE
